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                                                 THE HONORABLE JAMES L. ROBART
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 7                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 8                                  AT SEATTLE
 9   ANNA PATRICK, ET AL., individually and on   Case No.: 2:23-cv-00630 JLR
     behalf of all others similarly situated,
10
                              Plaintiffs,        DEFENDANT HAPPY HOUR MEDIA
11                                               GROUP, LLC’S MOTION TO DISMISS
           v.                                    THE COMPLAINT
12
     DAVID L. RAMSEY, III, individually; HAPPY   NOTED ON MOTION CALENDAR:
13   HOUR MEDIA GROUP, LLC, a Washington         October 27, 2023
     limited liability company; THE LAMPO
14   GROUP, LLC, a Tennessee limited liability
     company,
15
                              Defendants.
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 3
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 1                                          I. INTRODUCTION

 2             The Complaint identifies the Plaintiffs as customers of Reed Hein and focuses on the

 3   alleged conduct of Reed Hein and its owner, Brandon Reed. As the Complaint recognizes, a

 4   class of customers already brought their claims against Reed Hein and Brandon Reed in the

 5   Adolph lawsuit.1 What the Complaint does not say, but the Court can take judicial notice of, is

 6   that the Plaintiffs here are members of the Adolph class; they have settled their claims against

 7   Reed Hein and Brandon Reed; the judgment in Adolph provides that the Plaintiffs “will never

 8   execute upon or attempt to enforce any judgment against the assets of” Brandon Reed; and

 9   Happy Hour is an asset of Brandon Reed. Because the Adolph Court has prohibited Plaintiffs

10   from recovering anything from Happy Hour, the Plaintiffs cannot state a claim upon which

11   relief can be granted against Happy Hour.

12             In addition to being legally barred, the claims against Happy Hour do not rise to the

13   level of plausibility required in a federal court complaint. In all its dozens of pages, the

14   Complaint contains only eight paragraphs that make substantive allegations against Happy

15   Hour. Together, those paragraphs allege that Happy Hour acted as an intermediary for

16   payments between Reed Hein and Dave Ramsey and that Reed Hein and Happy Hour “struck

17   a deal” to have Ramsey mislead people. The Complaint does not allege any substance, details,

18   or factual matter identifying the terms of the supposed deal. The scanty allegations against

19   Happy Hour are devoid of specifics and cannot support any of Plaintiffs’ three causes of

20   action.

21             Finally, as demonstrated in the briefing on the motion to dismiss from the Ramsey

22   Defendants (Dave Ramsey and the Lampo Group), many of the Plaintiffs’ claims, even if

23   otherwise viable, are time-barred.

24

25
               1
                   Dkt. 1 at ¶ 106.

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 1           Happy Hour respectfully requests that the Court dismiss the claims against it with

 2   prejudice due to the Plaintiffs’ failure to state a plausible claim, the untimeliness of the

 3   claims, and the Adolph Court’s prohibition against the Plaintiffs executing or enforcing any

 4   judgment against Happy Hour.

 5                                      II. FACTUAL BACKGROUND

 6   A.      The Plaintiffs are prohibited from executing or enforcing any judgment against
             Happy Hour by the judgement in the Adolph matter.
 7

 8           1.        The Plaintiffs and all others in the proposed class are members of the
                       Adolph class.
 9
             The Complaint focuses on the business practices of Reed Hein & Associates (“Reed
10
     Hein”), a timeshare exit company, and its owner, Brandon Reed. 2 Reed Hein and Mr. Reed
11
     were defendants in the class action lawsuit Adolph v. Reed Hein & Associates et al., filed in this
12
     Court on October 9, 2021, by the Albert Law Firm, which also represents the Plaintiffs in this
13
     action.3 On October 25, 2022, the Adolph court certified the following class:
14           All persons who paid fees to Reed Hein for services to terminate their timeshare
             obligations, except those persons who received refunds of the fees that they
15
             paid.4
16   As in the Adolph case, the Plaintiffs here all allege that they are persons who paid fees to Reed
17   Hein for services to terminate their timeshare obligations.5 They all allege that they have
18   suffered damages from paying those fees, implying that they have not received refunds.6 The
19   purported class in this lawsuit is:
20

21           2
                 See, e.g., Dkt. No. 1 at ¶¶81–108.
22           3
              Adolph Dkt. 1, Lovejoy Ex. 1 (references to “Adolph Dkt.__” refer to the record of Adolph v.
     Reed Hein & Associates et al., United States District Court, Western District of Washington, Case No.
23   2:21-cv-01378-BJR). For the Court’s convenience, copies of documents filed in Adolph are attached to
     the Declaration of Jack M. Lovejoy, filed herewith.
24           4
                 Adolph Dkt. 23, Lovejoy Ex. 23 at 2:5-7.
25           5
                 Dkt. 1 at ¶ 16-66.
             6
                 Dkt. 1 at 47:13.

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             All individuals who, during the applicable statute of limitations, paid money to
 1           Reed Hein and Time Share Exit Team for the purpose of obtaining an “exit”
 2           from their timeshare obligations after being exposed to, and/or in reliance on,
             the statements and other representations made by Dave Ramsey, and the Lampo
 3           Group.7

 4   This proposed class is a subset of the Adolph class.
             2.         As members of the Adolph class, the Plaintiffs and all members of the
 5
                        proposed class have settled their claims against Reed Hein and Mr. Reed.
 6           On December 30, 2022, the Adolph Court preliminarily approved a class-wide
 7   settlement.8 On May 19, 2023, the Adolph Court entered its final approval of the settlement.9
 8   On June 15, 2023, the Adolph Court entered a final Confession of Judgment and Judgment
 9   with Covenant Not to Execute based on the parties’ settlement.10 None of the Plaintiffs opted
10   out of the class.11
11           3.         The basis for the settlement with Reed Hein and Brandon Reed was, in
                        Plaintiffs’ counsel’s words, the limited nature Reed Hein’s and Mr. Reed’s
12                      assets.
13           The settlement of the Adolph case did not involve a cash payment.12 Instead, Reed Hein
14   and Mr. Reed assigned to the Adolph class all of the claims that Reed Hein or Mr. Reed had
15   against various third parties, including insurers, law firms, and Reed Hein’s other founder,
16   Trevor Hein, and agreed to various forms of cooperation with the class.13 The Adolph plaintiffs’
17   motion to approve the settlement argued that the settlement was “objectively superior to
18   continued litigation,” in part due to the fact that Reed Hein and Mr. Reed had few assets
19   remaining to continue litigation and provide a meaningful recovery to the customers.14
20
             7
                 Dkt. No. 1 at ¶ 191.
21           8
                 Adolph Dkt. 27, Lovejoy Ex. 27.
22           9
                 Adolph Dkt. 43, Lovejoy Ex. 43.
             10
23                Adolph Dkt. 45, Lovejoy Ex. 45.
             11
                  Adolph Dkt. 38, Lovejoy Ex. 38, at ¶ 12, listing all those who opted out.
24           12
                  Adolph Dkt. 25-1, Lovejoy Ex. 25-1.
25           13
                  Id. at II(4-16).
             14
                  Adolph Dkt. 24 at 2:15 and Dkt. 25 at ¶¶ 23-26, Lovejoy Exs. 24 and 25.

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            4.         In the Adolph case, the plaintiffs acknowledged that one asset that would
 1                     remain to Mr. Reed after settlement was Happy Hour.
 2          In support of the Adolph plaintiffs’ argument that Reed Hein and Mr. Reed had limited
 3   assets, Plaintiffs filed a declaration of their attorney, Gregory Albert (“Albert Declaration”).15
 4   The Albert Declaration described how he had examined documentation of the assets of Reed
 5   Hein and Mr. Reed on several occasions.16 In addition to discussing the assets being assigned
 6   in the settlement, he also noted that “Mr. Reed has a fifty percent interest in Happy Hour Media
 7   Group, LLC.”17 This asset was not assigned to the Adolph class in the settlement.18
 8          In support of their preliminary motion for class settlement approval, the Adolph
 9   plaintiffs also submitted a Declaration of Brandon Reed, which explicitly noted that aside from
10   assets he was assigning in the settlement, he had no substantial assets other than “A 50%
11   ownership interest in Happy Hour Media Group LLC” and an overdue receivable on a loan.19
12   The Adolph plaintiffs’ briefing explained:
13
            Mr. Reed’s remaining net worth is minimal. Mr. Reed has a fifty percent
14          interest in Happy Hour [], which has $1,489,966.90 in equity but $1,624,028 in
            debt. The only other substantial asset Mr. Reed has is an “overdue” account
15          receivable for $623,730 for a loan to Trevor Hein that Mr. Hein has declined to
            pay.20
16

17   Based on the submissions by plaintiffs, including the declarations of Mr. Albert and Mr. Reed,

18   the Adolph court approved the parties’ settlement agreement.21

19
20

21          15
                 Adolph Dkt. 25, Lovejoy Ex. 25.
22          16
                 Id. at ¶ 23
            17
23               Id. (emphasis added).
            18
                 Adolph Dkt. 25-1, Lovejoy Ex. 25 at II(4-16).
24          19
                 Adolph Dkt. 26, Lovejoy Ex. 26.
25          20
                 Adolph Dkt. 24 at 2:16-19 (internal citations omitted).
            21
                 Adolph Dkt. 43, Lovejoy Ex. 43.

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              5.        The Adolph Court entered judgment prohibiting members of the Adolph
 1                      class from recovering any funds from Brandon Reed’s assets.
 2            As part of the Adolph settlement, Reed Hein and Brandon Reed entered into a
 3   Confession of Judgment in the amount of $630,187,204.22 In exchange for the consideration
 4   provided to the Adolph class, including the assigned claims and the Confession, the Adolph
 5   class requested and the Court entered a final judgment that provided that the class “will never
 6   execute upon or attempt to enforce any judgment against the assets of the Defendant
 7   Parties.”23
 8
              6.        In this lawsuit, members of the Adolph class are seeking to obtain and
 9                      enforce a judgment against Brandon Reed’s asset Happy Hour.

10            Despite the Adolph Court’s prohibition on members of the Adolph class attempting to
11   execute or enforce a judgment against Brandon Reed’s assets, the Plaintiffs in this lawsuit, all
12   of whom are Adolph class members, are seeking to obtain and enforce a judgment against
13   Happy Hour.
14   B.       The lengthy Complaint contains very few allegations against Happy Hour.
15            The Complaint contains 215 paragraphs of allegations.24 The following paragraphs do
16   not attempt to state claims against Happy Hour:
17           Paragraphs 1-15 give an overview of the parties and claims;
18           Paragraphs 16-66 introduce the named plaintiffs and their interactions with Reed Hein
19            and defendant Dave Ramsey, paragraphs 178-190 repeat these allegations, and none of
20            these paragraphs mentions Happy Hour;
21           Paragraphs 191-200 are procedural allegations about the propriety of a class action and
22            do not mention Happy Hour;
23           Paragraphs 66-72 name and introduce the defendants again;
24            22
                   Adolph Dkt. 45, Lovejoy Ex. 45 at 5:16.
25            23
                   Adolph Dkt. 44, 44-1, 45, Lovejoy Exs. 44, 44-1, and 45 at 5:20-23 (emphasis added).
              24
                   See generally Dkt. No. 1.

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 1         Paragraphs 73-80 discuss jurisdiction and venue;

 2         Paragraphs 81-108 are allegations about Reed Hein;

 3         Paragraphs 201-215 recite the elements of Plaintiffs’ causes of action in general terms

 4          and do not mention Happy Hour; and

 5         Paragraphs 115-122, 124, 125, and 127-177 all attempt to present the substance of

 6          Plaintiffs’ claims, but none of them accuse Happy Hour of anything.

 7   Only eight (8) paragraphs make any substantive allegation about Happy Hour (¶¶ 109–

 8   114; 123; 126).

 9          The allegations against Happy Hour are:

10                 ¶ 109: “At all times since [May 2015], Happy Hour [] has acted as Reed
11                  Hein’s in-house marketing department. Happy Hour [] promoted and
                    paid for all false advertisements described within this complaint.”
12
                   ¶ 110, 112, 113, 126: Happy Hour served as an intermediary who
13                  received money from Reed Hein to spend on marketing and paid some
                    of that money, up to millions of dollars per year, to Dave Ramsey and/or
14                  the Lampo Group for advertising spots on Mr. Ramsey’s programs.
15
                   ¶ 111: Brandon Reed and Christopher Holcomb took all actions
16                  attributed to Happy Hour in the Complaint or instructed subordinates at
                    Happy Hour to do so.
17
                   ¶ 114, ¶ 123: “Reed Hein and Happy Hour [] struck a deal with the
18                  Lampo Group in which Dave Ramsey agreed to make false statements
                    about Reed Hein to induce his followers to spend money on Reed Hein’s
19
                    illusory services;” “Ramsey promoted Reed Hein” and Ramsey and Reed
20                  Hein both made money as a result. ¶ 123.

21   The Complaint does not allege that Happy Hour made any representation or misrepresentation
22   to, or otherwise interacted with, any plaintiff or class member. The Complaint does not explain
23   what Happy Hour did to “promote” allegedly false advertisements, other than buying ad space
24   on Mr. Ramsey’s programs. The Complaint does not explain what it means when it alleges that
25   Reed Hein and Happy Hour “struck a deal” with the Lampo Group. The terms of this deal are



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 1   not alleged. The manner in which the alleged deal was struck is not alleged. Happy Hour’s

 2   supposed role in the striking of the deal is not alleged. From the allegations in the Complaint,

 3   it appears that the deal was simply that Reed Hein would buy ad space on Ramsey’s programs

 4   and Happy Hour’s role was simply to pay for that ad space.

 5          The Complaint alleges that the limited substantive allegations about Happy Hour

 6   support causes of action for (1) Violation of the Washington Consumer Protection Act; (2)

 7   Negligent Misrepresentation; and (3) Conspiracy.25 Plaintiffs do not name Happy Hour as a

 8   defendant with respect to their claim for Unjust Enrichment.26

 9                                III. ARGUMENT AND AUTHORITIES

10   A.     Relief cannot be granted to the Plaintiffs because the Adolph judgment prohibits
            plaintiffs from executing or enforcing any judgment against Happy Hour.
11

12          Under Fed. R. Civ. P. 12(b)(6), this Court may dismiss a Complaint for “failure to state

13   a claim upon which relief can be granted.” Rule 12(b)(6) exists to weed out unmeritorious

14   complaints. Bell Atl. Corp. v. Twombly, 550 U.S. 544, 559, 127 S. Ct. 1955 (2007). The

15   Complaint fails to state a claim against Happy Hour because the Adolph judgment precludes

16   the Plaintiffs from obtaining or enforcing a judgment against any of Brandon Reed’s assets, and

17   Happy Hour is one of those assets. Because any judgment obtained by Plaintiffs in this matter

18   would be unenforceable, no effective relief can be granted to the Plaintiffs in this action.

19          1.        The Court may consider the records of the Adolph case when deciding this
                      Motion.
20
            While a Court normally will not consider materials outside the Complaint on a motion
21
     under Fed. R. Civ. P 12(b)(6), a court may take judicial notice of matters of public record
22
     without converting a motion to dismiss into a motion for summary judgment. Khoja v. Orexigen
23
     Therapeutics, Inc., 899 F.3d 988, 999 (9th Cir. 2018). Judicially noticeable public records
24

25          25
                 Dkt. 1 at ¶¶ 201–08; 214–15.
            26
                 Dkt. 1 at ¶¶ 209-213.

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 1   include the records of other lawsuits. Rosales-Martinez v. Palmer, 753 F.3d 890, 894 (9th Cir.

 2   2014); Kipp v. Davis, 971 F.3d 939 n. 2 (9th Cir. 2020); Skilstaf, Inc. v. CVS Caremark Corp.,

 3   669 F.3d 1005, 1014 (9th Cir. 2012) (the district court properly took judicial notice of

 4   “transcripts, letters, pleadings, and other documents filed in an earlier case). Here, the Court

 5   may take judicial notice of the Judgment and associated motions and declarations from the

 6   Adolph matter cited in this motion.

 7          2.        Every Plaintiff and proposed class member is a member of the Adolph
                      class.
 8
 9          The Complaint describes each of the Plaintiffs as a person who paid Reed Hein for

10   timeshare exit services.27 The Complaint alleges that the Plaintiffs are entitled to damages for

11   the fees they paid to Reed Hein, implying that they have not received refunds. 28 Each Plaintiff

12   therefore fits within the class certified by the Adolph Court. None of the Plaintiffs opted out of

13   the Adolph settlement. Hence, each named Plaintiff is a member of the Adolph class.

14          The Complaint describes the proposed class in this matter as individuals who paid

15   money to Reed Hein for timeshare exit services (with the additional characteristics that they did

16   so within a statute of limitations and after relying on Dave Ramsey).29 The Complaint requests

17   an award of damages for those fees, again implying that the fees have not been refunded.30

18   Hence, each member of the proposed class is also a member of the Adolph class.

19          3.        As members of the Adolph class, the named Plaintiffs and unnamed
                      members of the proposed class are bound by the Adolph Judgment.
20

21          A judgment in a class action binds members of a class even if they were not named

22   parties to the class action. Hansberry v. Lee, 311 U.S. 32, 41, 61 S.Ct. 115 (1940). Moreover,

23
            27
                 Dkt. 1, Lovejoy Ex. 1 at ¶¶ 16-66.
24          28
                 Dkt. 1, Lovejoy Ex. 1 at 47:13.
25          29
                 Dkt. 1, Lovejoy Ex. 1 at ¶ 191.
            30
                 Dkt. 1, Lovejoy Ex. 1 at 47:13.

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 1   “[a] settlement agreement may preclude a party from bringing a related claim in the future even

 2   though the claim was not presented and might not have been presentable in the class action.”

 3   Marshall v. Northrop Grumman Corp., 469 F. Supp. 3d 942, 948–49 (C.D. Cal. 2020) (citations

 4   and internal quotations omitted). A covenant not to sue in a class action settlement is

 5   enforceable against members of the class, even if they were not named plaintiffs. Skilstaf, Inc.

 6   v. CVS Caremark Corp., 669 F.3d 1005 (9th Cir. 2012).

 7          The Ninth Circuit decision in Skilstaf, Inc. v. CVS Caremark Corp., 669 F.3d 1005 (9th

 8   Cir. 2012), demonstrates the preclusive effect of a covenant in a class action judgment. Skilstaf,

 9   Inc. was an unnamed class member in a class action filed in Massachusetts federal district court.

10   Id. at 1007–08. The class consisted of third-party payors who reimbursed consumers’ purchases

11   of certain prescription drugs. Id. at 1008. The defendants were a wholesale drug distributor

12   called McKesson, and First Data Bank. Id. The Massachusetts court certified the class and

13   provided notice to the class members and a right to opt-out of the class settlement. Id. at 1009.

14   The class settlement provided a release of defendants and affiliated parties, as well as a covenant

15   not to sue, which read: “All Releasers covenant and agree that they shall not hereafter seek to

16   establish liability against any Released Party or any other person based, in whole or in part, on

17   any of the Released Claims.” Id. at 1009.

18          At the fairness hearing, Skilstaf objected to the settlement, asking the Court to strike the

19   words “or any other person” from the covenant not to sue. Id. at 1011. In response, McKesson

20   argued that “the broad covenant not to sue was a critical part of the settlement because ‘[i]f all

21   McKesson had was a release, it would remain exposed to claims for indemnification or

22   contribution if plaintiffs filed new lawsuits against third parties based on the claims that

23   McKesson had just settled.’” Id. at 1012. Skilstaf was given a second opportunity to opt out of

24   the settlement agreement but declined to do so. Id. at 1012. The Massachusetts court entered a

25   final judgment certifying a nationwide class action and approving the class settlement,



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 1   including the covenant not to sue as originally worded, and Skilstaf received its benefits from

 2   the settlement. Id. at 1013.

 3          Separately from the Massachusetts class action, Skilstaf filed a lawsuit in the Northern

 4   District of California against CVS Caremark Corp. and other pharmacies who were not parties

 5   to the Massachusetts lawsuit. Id. at 1013–14. Skilstaf’s claims were based on the same operative

 6   facts as the claims released in the Massachusetts class action. The California defendants

 7   successfully moved to dismiss Skilstaf’s claims under Fed. R. Civ. P. 12(b)(6) “on the basis

 8   that they were precluded by the covenant not to sue that the Massachusetts court had approved

 9   as part of the [Massachusetts] settlement agreement[.]” Id. at 1013. The California court noted

10   that the Massachusetts settlement prevented lawsuits against ‘any other person’ based on

11   released claims and that Skilstaf was a member of the Massachusetts class. Id. at 1014.

12   “Describing Skilstaf’s decision to remain in the class and accept its portion of the settlement

13   proceeds as ‘informed and strategic,’ the court concluded that ‘Skilstaf cannot now attempt to

14   circumvent the limitations that attended those benefits.’” Id. The Ninth Circuit affirmed the

15   California court’s dismissal of Skilstaf’s lawsuit. Id. at 1018–19.

16          Here, just as in Skilstaf, the Plaintiffs, who were members of the Adolph class, are bound

17   by the covenants in the settlement and judgment approved by the Adolph Court. The Adolph

18   judgment says that the Adolph class members “will never execute upon or attempt to enforce

19   any judgment against the assets of the Defendant Parties.”31 The Plaintiffs were on notice

20   of the terms of the Judgment and had the opportunity to opt out of the settlement. The Adolph

21   Court record, including the testimony of Plaintiffs’ counsel, made it clear that Happy Hour was

22   one of Mr. Reed’s assets that would become off-limits as a result of the proposed Judgment.

23   Just as in Skilstaf, the broad covenant not to enforce or execute any judgment against any asset

24   of Mr. Reed was an important element of the settlement. As alleged in the Complaint, the

25
            31
                 Dkt. 45, Lovejoy Ex. 45 at 5:20-23 (emphasis added).

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 1   attorney who represented the Adolph class and the Plaintiffs in this suit was engaged in serial

 2   lawsuits and arbitrations against Reed Hein and Mr. Reed. Without a broad covenant

 3   prohibiting all further attempts to collect Mr. Reed’s dwindling assets, members of the class

 4   and their attorney could have simply continued to effectively sue Mr. Reed on the settled claims,

 5   which is exactly what the Plaintiffs are trying to do now. If the people who are now Plaintiffs

 6   in this lawsuit had intended to preserve their opportunity to seek to recover from Happy Hour

 7   or any other asset of Mr. Reed’s, they could have objected to the proposed judgment’s reference

 8   to “the assets of the Defendant Parties” or they could have opted out of the class. None of them

 9   did so.32 The Plaintiffs and the proposed class in this lawsuit are therefore bound by the Adolph

10   judgment’s covenant not to execute or enforce any judgment against any asset of Mr. Reed,

11   including Happy Hour.

12          4.        The Adolph Judgment prohibits the Patrick class from stating a claim
                      upon which relief can be granted because it renders this matter moot.
13

14          The covenant not to execute or enforce any judgment against Happy Hour necessarily

15   renders the Patrick Complaint non-justiciable. Wallingford v. Bonta, ---F.4th---, 21-56292,

16   2023 WL 6153588 at *2, *7 (9th Cir. Sept. 21, 2023)(when effective relief can no longer be

17   granted, a dispute becomes moot and ceases to be a “case or controversy” for purposes of Article

18   III). Any judgment that might be obtained against Happy Hour in this lawsuit would be

19   worthless and moot because it could not be executed or enforced. Because there is no

20   meaningful relief that can be granted to the Plaintiffs in this lawsuit, the Complaint must be

21   dismissed under Fed. R. Civ. P. 12(b)(6) with prejudice.

22

23

24

25
            32
                 Dkt. 38, Lovejoy Ex. 38 at ¶ 12.

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            5.      Plaintiffs are judicially estopped from asserting that Happy Hour is not an
 1                  asset of Brandon Reed.
 2
            Plaintiffs are judicially estopped from denying the truth of the factual statements made
 3
     in the documents filed by the Plaintiffs in the Adolph matter. Judicial estoppel is “an equitable
 4
     doctrine that precludes a party from gaining an advantage by asserting one position, and then
 5
     later seeking an advantage by taking a clearly inconsistent position.” Hamilton v. State Farm
 6
     Fire & Cas. Co., 270 F.3d 778, 782 (9th Cir. 2001) (citation omitted). When considering
 7
     whether to apply judicial estoppel, the court may consider (1) whether the party’s later position
 8
     is clearly inconsistent with its earlier position; (2) “whether the party has succeeded in
 9
     persuading the court to accept that party’s earlier position, so that judicial acceptance of an
10
     inconsistent position in a later proceeding would create the perception that either the first or
11
     second court was misled”; and (3) whether the party seeking to assert an inconsistent position
12
     would “derive an unfair advantage or impose an unfair detriment on the opposing party if not
13
     estopped.” Id. (quoting New Hampshire v. Maine, 532 U.S. 742, 750–51, 121 S.Ct. 1808
14
     (2001)). Judicial estoppel is “invoked not only to prevent a party from gaining an advantage
15
     by taking inconsistent positions, but also because of general considerations of the orderly
16
     administration of justice and regard for the dignity of judicial proceedings, and to protect
17
     against a litigant playing fast and loose with the courts.” Milton H. Greene Archives, Inc. v.
18
     Marilyn Monroe LLC, 692 F.3d 983, 993 (9th Cir. 2012) (internal quotations and citations
19
     omitted).
20
            In the Adolph matter, the Adolph plaintiffs submitted testimony and briefing urging the
21
     Court to approve the proposed settlement and confession of judgment in part because Mr. Reed
22
     is insolvent and Happy Hour is his only remaining meaningful asset.33 That testimony and
23
     argument was submitted to the Court on behalf of all of the members of the Adolph class,
24

25          33
              Adolph Dkt. 24 at 2:16-19; Adolph Dkt. 25, Lovejoy Ex. 25 at ¶¶ 23–24; Adolph Dkt. 26,
     Lovejoy Ex. 26.

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 1   including the Plaintiffs herein. It was presented by one of the same law firms representing the

 2   Plaintiffs in this matter. The Adolph class, including the Plaintiffs herein, benefitted from these

 3   representations by persuading the Court to approve the settlement and enter their requested

 4   judgment. The doctrine of judicial estoppel prevents the Plaintiffs from now arguing that Happy

 5   Hour is not an asset of Mr. Reed. Allowing the Plaintiffs to assert in this lawsuit that Happy

 6   Hour is not an asset of Mr. Reed’s and to sidestep the covenant in the Adolph judgment would

 7   “impose an unfair detriment” on both Mr. Reed and Happy Hour, who are entitled to the few

 8   benefits Mr. Reed was able to negotiate in the Adolph settlement.

 9   B.     The Complaint fails to state a claim against Happy Hour because it does not
            allege sufficient factual content to support a claim that is plausible on its face.
10

11          Federal Rule of Civil Procedure 8(a) “demand[s] more than an unadorned, the-

12   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678. “To survive a motion to

13   dismiss, a complaint must contain sufficient factual matter, accepted as true, to state a claim to

14   relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937 (2009).

15   A claim has “facial plausibility” when a plaintiff “pleads factual content that allows the court

16   to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Id.

17          A plaintiff’s complaint must rise above the mere conceivability or possibility of

18   unlawful conduct that entitles the pleader to relief. Iqbal, 556 U.S. at 678–79. “[A] plaintiff’s

19   obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

20   conclusions, and a formulaic recitation of the elements of a cause of action will not do.”

21   Twombly, 550 U.S. at 555. A complaint will not suffice “if it tenders ‘naked assertion[s] devoid

22   of ‘further factual enhancement.’” Iqbal, 556 U.S. at 667 (citing Twombly, 550 U.S. at 557).

23   “Where a complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it

24   ‘stops short of the line between possibility and plausibility of entitlement to relief.” Id. at 678

25   (quoting Twombly, 550 U.S. at 557). Nor is it enough that the complaint is “factually neutral,”
     rather it must be “factually suggestive.” Twombly, 550 U.S. at 557 n. 5.

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 1          “[W]hen the allegations in a complaint, however true, could not raise a claim of

 2   entitlement to relief, this basic deficiency should be exposed at the point of minimum

 3   expenditure of time and money by the parties and the court.” Twombly, 550 U.S. at 557

 4   (quotations omitted); see also Somers v. Apple, Inc., 729 F.3d 953, 966 (9th Cir. 2013)

 5   (Supreme Court’s insistence in Twombly “on specificity of facts is warranted before permitting

 6   a case to proceed into costly and protracted discovery”).

 7
            1.        Plaintiffs do not state a plausible claim for violations of the Consumer
 8                    Protection Act because they do not allege any interactions between Happy
                      Hour and consumers or any unfair or deceptive act by Happy Hour.
 9

10          To plead a plausible claim for a violation of the Consumer Protection Act (CPA),

11   Plaintiffs must allege, among other things, that Happy Hour engaged in an “unfair or deceptive

12   act or practice” in trade or commerce. Hangman Ridge Training Stables, Inc. v. Safeco Title

13   Ins. Co., 105 Wn.2d 778, 780 (1986).

14          Before examining Plaintiffs’ allegations against Happy Hour, it is important to note that

15   one premise of this lawsuit must be that Happy Hour is distinct from Reed Hein. If the Plaintiffs

16   were to argue that Reed Hein and Happy Hour are one and the same, they would be even more

17   blatantly violating their settlement with Reed Hein. Hence, the Complaint’s many allegations

18   against Reed Hein cannot be read as allegations against Happy Hour. Instead, only the

19   allegations specifically against Happy Hour can be considered when analyzing whether the

20   Complaint states a plausible claim against Happy Hour. The allegations in the eight substantive

21   paragraphs discussing Happy Hour are insufficient, if believed, to establish an unfair or

22   deceptive act or practice by Happy Hour in trade or commerce.

23          The first allegation against Happy Hour is that it was an “in-house marketing department

24   for Reed Hein.”34 The Complaint does not explain what it means by “in-house marketing

25
            34
                 Dkt. 1 ¶ 109.

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 1   department.” In any event, the Complaint does not allege that there is anything unfair or

 2   deceptive about being an in-house marketing department.

 3          The next allegation is that Happy Hour “promoted and paid for all false advertisements”

 4   described in the complaint.35 The Complaint does not provide any factual content to explain

 5   what it means by alleging that Happy Hour “promoted” advertisements. The only concrete act

 6   that the Complaint alleges by Happy Hour is that it acted as an intermediary for Reed Hein to

 7   pay for ad space on Ramsey’s programs.36 There is nothing unfair or deceptive about paying

 8   for ad space.

 9          The next allegation against Happy Hour is that it acted through Brandon Reed and Chris

10   Holcomb.37 This is not an allegation of unfair or deceptive acts. All limited liability companies

11   act through individuals.

12          The final allegation against Happy Hour is that it, along with Reed Hein, “struck a deal”

13   with Ramsey in which Ramsey agreed to make false statements. 38 The Plaintiffs do not allege

14   what the terms of this deal were, that this deal involved Happy Hour doing anything unfair or

15   deceptive, or that Happy Hour did anything other than act as an intermediary for payments.

16   Instead, it appears that the concept of a “deal” was added to the Complaint merely to provide a

17   formulaic recitation of one of the elements of Plaintiffs’ claim for conspiracy. This allegation

18   of a shapeless “deal” is exactly the sort “‘naked assertion[s] devoid of ‘further factual

19   enhancement’” that cannot support a viable complaint. Iqbal, 556 U.S. at 667 (citing Twombly,

20   550 U.S. at 557.

21          All of the allegations in the Complaint that attempt to provide sufficient factual content

22   to support plausible claims relate to other parties. For instance, while the Plaintiffs allege that

23
            35
                 Id.
24          36
                 Id. at ¶¶ 110, 112, 113, 126.
25          37
                 Id. at ¶ 111.
            38
                 Id. at ¶¶ 114 and 123.

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 1   they heard false statements made by the Ramsey Defendants, they do not allege any false

 2   statements by Happy Hour.39 Similarly, paragraph 202 provides a laundry list of allegedly

 3   deceptive acts and they all relate entirely to other parties, not Happy Hour. Those acts include

 4   “produc[ing] advertising” that was “deceptive” and “perpetuates . . . consumer fraud,” acts in

 5   which Happy Hour is not alleged to have taken part.40

 6          Because there are no allegations of unfair or deceptive acts or practices in trade or

 7   commerce by Happy Hour—in fact there are no allegations of any interactions between Happy

 8   Hour and any consumer at all—the Complaint does not state a plausible claim for violation of

 9   the CPA by Happy Hour. Count One of the Complaint must therefore be dismissed as it relates

10   to Happy Hour.

11          2.        The Complaint does not state a plausible claim for negligent
                      misrepresentation because it does not allege any misrepresentation by
12
                      Happy Hour.
13
            To make a claim for negligent misrepresentation, a plaintiff must show proof of seven
14
     elements by clear, cogent, and convincing evidence. Repin v. State, 198 Wn. App. 243, 278,
15
     392 P.3d 1174, 1191 (2017). Those elements are:
16
            (1) the defendant supplied information for the guidance of another in his or her business
17
            transactions;
18
            (2) the information was false;
19
            (3) the defendant knew or should have known that the information was supplied to guide
20
            the plaintiff in his or her business transactions;
21
            (4) the defendant was negligent in obtaining or communicating the false information;
22
            (5) the plaintiff relied on the false information;
23

24
            39
                 See generally Dkt. No. 1.
25          40
              Id. at ¶¶ 202(“The Lampo Group, Dave Ramsey specifically committed the following unfair
     and deceptive trade practices, which harmed Reed Hein customers….”

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 1          (6) the plaintiff’s reliance was reasonable; and

 2          (7) the false information proximately caused the plaintiff damages.

 3   The section of the Complaint that states Count Two, for Negligent Misrepresentation, says: “As

 4   alleged above, Defendants supplied representations that were false for the guidance of

 5   Plaintiffs.”41 But nowhere “above” does the Complaint ever allege that Happy Hour supplied

 6   any statement or other representation for the guidance of anyone. The Complaint alleges that

 7   Reed Hein provided “false claims” to the Ramsey Defendants.42 The Complaint alleges that the

 8   Ramsey Defendants made statements to consumers. But there is no allegation that (1) Happy

 9   Hour supplied information for the guidance of any plaintiff, (2) Happy Hour supplied any false

10   information, (3) Happy Hour knew or should have known that any information it was supplying

11   information for the guidance of Plaintiffs, (4) Happy Hour was negligent in obtaining or

12   communicating false information, (5) Plaintiffs relied on information from Happy Hour, (6) it

13   was reasonable for any Plaintiff to rely on Happy Hour, or (7) that information from Happy

14   Hour proximately caused Plaintiffs’ damages.

15          Plaintiffs have failed to plead the basic elements of a claim for negligent

16   misrepresentation against Happy Hour. Therefore, Count Two of the Complaint should be

17   dismissed as it relates to Happy Hour.

18          3.         The Plaintiffs’ allegation of a “deal” cannot support a plausible
                       Conspiracy claim.
19
20          To establish a civil conspiracy, Plaintiffs “must prove by clear, cogent, and convincing

21   evidence that (1) two or more people combined to accomplish an unlawful purpose, or

22   combined to accomplish a lawful purpose by unlawful means; and (2) the conspirators entered

23
            41
                 Dkt. No. 1 at ¶ 205.
24          42
               Dkt. No. 1 at ¶ 5 (“From 2015 to 2021, Reed Hein paid Dave Ramsey and the Lampo Group
25   to make false claims and instruct Ramsey’s faithful listeners to hire Reed Hein.”); ¶ 6 (“Reed Hein
     made many claims that any competent financial advisor with Dave Ramsey’s knowledge and skill
     would know to be false”).

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 1   into an agreement to accomplish the conspiracy.” All Star Gas, Inc., of Wash. v. Bechard, 100

 2   Wn. App. 732, 740, 998 P.2d 367 (2000). “Mere suspicion or commonality of interests is

 3   insufficient to prove conspiracy.” Id. (quoting Wilson v. State, 84 Wn. App. 332, 350–51, 929

 4   P.2d 448 (1996)).

 5          Plaintiffs’ claim for conspiracy is supported by only two conclusory and duplicative

 6   allegations. Plaintiffs allege that Reed Hein and Happy Hour “struck a deal with The Lampo

 7   Group in which Dave Ramsey agreed to make false statements about Reed Hein.”43 They also

 8   allege: “Ramsey struck a deal with Reed Hein and Happy Hour [] to generate tens of millions

 9   of dollars sending his followers to Reed Hein…Ramsey promoted Reed Hein by making untrue

10   claims to his listeners.”44 Count 4 of the Complaint rephrases these allegations twice. First, it

11   says: “defendants agreed and collaborated together and with Reed Hein and its employees and

12   officers and owners to accomplish the above by making deceptive statements to Reed Hein

13   customers and Dave Ramsey listeners.”45 Next, Count 4 says Defendants “agreed among

14   themselves and with Reed Hein to make deceptive and fraudulent statements about the services

15   Reed Hein provided to induce customers to pay money for Reed Hein [sic] services.”46

16          These four iterations of the claim that Happy Hour was party to “a deal” are the epitome

17   of the “formulaic recitation of the elements of a cause of action,” Twombly, 550 U.S. at 555.

18   The Complaint never alleges anything specific or concrete about what Happy Hour allegedly

19   agreed to do or that Happy Hour did anything to mislead consumers. The only specific

20   allegation against Happy Hour is that it was an intermediary for Reed Hein to pay Ramsey for

21   ad space.

22

23
            43
                 Dkt. 1 at ¶ 114.
24          44
                 Id. at ¶ 123.
25          45
                 Id. at ¶ 214.
            46
                 Id. at ¶ 215.

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     C.       The claims of several of the Plaintiffs should be dismissed because they are
 1            barred by applicable statutes of limitations.
 2
              Happy Hour endorses the arguments advanced by the Ramsey Defendants in their
 3
     Motion to Dismiss in favor of dismissing:
 4
             All claims of Robert and Samantha Nixon and Marylin Dewey and
 5
             The negligent misrepresentation and civil conspiracy claims of Leisa Garrett, David and
 6
              Rosemarie Bottonfield, Tasha Ryan, and Peter and Rachel Rollins.47
 7
     The arguments in the Ramsey Defendants’ Motion, and most of the arguments in their Reply,
 8
     are equally applicable to Happy Hour. For efficiency’s sake, Happy Hour will not repeat those
 9
     arguments in detail. However, there are two issues raised in the Plaintiffs’ response to the
10
     Ramsey Defendants’ Motion and addressed in the Ramsey Defendants’ Reply that require a
11
     brief analysis individualized to Happy Hour.
12
              The Plaintiffs argued that their limitations periods were tolled by fraudulent
13
     concealment. As the Ramsey Defendants explained in their reply, fraudulent concealment only
14
     tolls a claim against a defendant who acted affirmatively to prevent a plaintiff from timely filing
15
     their case. Lukovsky v. City & Cnty. Of San Francisco, 535 F.3d 1044, 1051-52 (9th Cir. 2008);
16
     August v. U.S. Bancorp, 146 Wn. App. 328, 347, 190 P.3d 86, 96 (2008). The Complaint alleges
17
     concealment by Reed Hein, but not by Happy Hour. In fact, the Complaint does not allege any
18
     interaction between Happy Hour and the Plaintiffs at all. As a result, there is no basis to find
19
     that any claim against Happy Hour was ever tolled by fraudulent concealment.
20
              The Plaintiffs also argued that the limitations periods on their CPA claims were tolled
21
     during the State of Washington lawsuit against Reed Hein. As the Ramsey Defendants
22
     explained in their Reply, the tolling provision in the CPA only applies to rights of action “based
23
     in whole or part on any matter complained of in said action by the attorney general.” RCW
24
     19.86.120. The Plaintiffs did not point to any case or commentary suggesting that the CPA’s
25
              47
                   Dkt. 25 (Motion) at 19:21-20:24 and Dkt. 31 (Reply) at 9:18-11:19.

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 1   tolling provision tolls or was intended to toll actions against parties other than the defendants

 2   in a lawsuit brought by the attorney general. And there is nothing in the Attorney General’s

 3   Complaint that alleges any wrongdoing by Happy Hour.48 For the reasons discussed in the

 4   Ramsey Defendants’ Reply, the tolling provision of the CPA cannot be read to apply to

 5   Plaintiffs’ claims against Happy Hour.

 6                                          IV. CONCLUSION

 7           As alleged in the Complaint, Plaintiffs’ counsel has been trying to make cases against

 8   Reed Hein for years. And the result is that Plaintiffs have filed another lawsuit about Reed Hein.

 9   After years of investigation, all that the Plaintiffs have managed to allege against Happy Hour

10   is that it did what every marketing agency does; it acted as an intermediary that paid for ad

11   spots. The Complaint says so little about Happy Hour, it appears that Happy Hour was only

12   added to the lawsuit to create a basis for hearing the case in the district where Plaintiffs’ counsel

13   reside, rather than for the merits of any claim against Happy Hour. Happy Hour is not alleged

14   to have deceived anyone or even to have interacted with any Plaintiff. The bald allegation that

15   there was some unspecified “deal” is not sufficient to link Happy Hour to any alleged

16   misstatement or support a cause of action against it.

17           Even if there was a basis for a claim against Happy Hour, the case against Happy Hour

18   must be dismissed. Mr. Reed negotiated away all the valuable assets he could in order to ensure

19   that this lawsuit would not happen, and he received not only a settlement, but a judgment from

20   this Court prohibiting a lawsuit like this one. The terms of the Adolph settlement and judgment

21   were bargained for and endorsed by the Plaintiffs’ own attorney on their behalf. And they

22   prohibit executing or enforcing any judgment against Happy Hour. With no prospect of an

23   enforceable judgment, the plaintiffs are unable to state any claim upon which any effective

24
             48
25             See Complaint, State of Washington v. Reed Hein & Associates, LLC, et al., King County
     Superior Court Case No. 20-2-03141-1 SEA, Lovejoy Ex. A. For the reasons stated above, the Court
     may take judicial notice of this court record.

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 1   relief can be granted against Happy Hour. Their effort to skirt the Adolph judgment should end

 2   now.

 3          For these reasons, Happy Hour respectfully requests that the Complaint against it be

 4   dismissed with prejudice.

 5

 6   DATED this 5th day of October, 2023.
 7                                               This motion contains 6099 words per LCR 7(e).
 8                                               CORR CRONIN LLP
 9
                                                 By: s/ Jack M. Lovejoy
10                                               Jack M. Lovejoy, WSBA No. 36962
                                                 Maia R. Robbins, WSBA No. 54451
11                                               1015 Second Avenue, 10th Floor
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13
                                                 mrobbins@corrcronin.com
14
                                                 Attorneys for Defendant Happy Hour Media
15                                               Group, LLC

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 1                                   CERTIFICATE OF SERVICE

 2
            I hereby certify that on October 5, 2023, I caused the foregoing document to be
 3
     electronically filed with the Clerk of the Court using the CM/ECF system, which will send
 4
     notification of such filing to all counsel of record.
 5
                                                    s/ Wen Cruz
 6
                                                    Wen Cruz
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